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                                     UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Missouri
                                        Thomas F. Eagleton U.S. Courthouse
                                       111 South Tenth Street, Fourth Floor
                                               St. Louis, MO 63102


In re:                                                            Case No.: 20−10098 − A399
Wade L. Todd                                                      Chapter: 7
Shelly K Todd
Debtor(s)



                                             DISCHARGE OF DEBTOR(S)


It appearing that the debtor(s) is/are entitled to a discharge,

IT IS ORDERED THAT:

The debtor(s) is/are granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).


The holder of any claim for unpaid pre−petition child support is entitled to have the Trustee provide such creditor
with notice of the creditor's right to use the services of the state child support enforcement agency and supply such
creditor with the address and telephone number of the state child support enforcement agency and an explanation of
the creditor's rights to payment in the bankruptcy case. Any creditor may request such notice and information by
writing the Trustee. Such creditor is further entitled to have the Trustee provide the creditor with (i) notice of the
granting of the discharge, (ii) any last known address of the debtor, (iii) the debtor's most recent employer, and (iv)
information concerning other claims on which the debtor may be liable following the discharge. Failure to request
such information from the Trustee shall be a waiver of the right to receive such notice from the Trustee.


                                                                  BY THE COURT



                                                                  U. S. Bankruptcy Judge




Dated: 5/13/20
St. Louis, Missouri
Rev. 12/17 3180




                      SEE PAGE 2 OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                EXPLANATION OF BANKRUPTCY DISCHARGE
                                         IN A CHAPTER 7 CASE

      This court order is not a dismissal of the case and it does not determine how much money, if any, the trustee
will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtors. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtors' property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. This
discharge does not stop creditors from collecting from anyone else who is also liable on the debt, such as an insurance
company or a person who cosigned or guaranteed a loan. Also, a debtor may voluntarily pay any debt that has been
discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

     Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

     a. Debts for most taxes;

     b. Debts incurred to pay nondischargeable taxes applicable only to cases filed after October 17, 2005;

     c. Debts that are domestic support obligations applicable only to cases filed after October 17, 2005;

     d. Debts for most student loans;

     e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

     f. Debts for most personal injuries or death caused by the debtor's operation of a motor vehicle while
     intoxicated;

     g. Some debts which were not properly listed by the debtors in time to permit the creditor to file a proof of
     claim, if required, or file a timely request to determine dischargeability;

     h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
     discharged;

     i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
     compliance with the Bankruptcy Code requirements for reaffirmation of debts.

     j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
     Plan for federal employees for certain types of loans from these plans applicable only to cases filed after
     October 17, 2005.


       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
